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                                                             4   Entered on Docket
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                                                                October 06, 2021
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                                                            15   Medical Receivables Fund, L.P.
                                                            16                                  UNITED STATES BANKRUPTCY COURT
                                                            17                                           DISTRICT OF NEVADA
                                                            18   In re:
                                                                                                                        Case No.:   21-14486-abl
                                                            19                INFINITY CAPITAL                          Chapter     7
                                                                              MANAGEMENT, INC.
                                                            20
                                                                                     Debtor.
                                                            21

                                                            22                                   ORDER
                                                                    JOINT MOTION OF CHAPTER 7 TRUSTEE AND PARTY IN INTEREST TO REJECT
                                                            23      SUB-ADVISORY AGREEMENT TECUMSEH – INFINITY MEDICAL RECEIVABLES
                                                                                                FUND, LP
                                                            24

                                                            25                This Court, having considered the Joint Motion of Chapter 7 Trustee and Party In interest
                                                            26   Tecumseh – Infinity Medical Receivables Fund, LP to Reject Sub-Advisory Agreement Tecumseh-
                                                            27   Infinity Medical Receivables Fund, LP, with all annexed exhibits and declarations, and having found
                                                            28   that the Sub-Advisory Agreement between Tecumseh – Infinity Medical Receivable Fund, LP
                                                                                                                    1
                                                                 60254603;1
                                                                         Case 21-14486-abl      Doc 66   Entered 10/06/21 14:50:45   Page 2 of 2




                                                             1   ("Tecumseh") and the Debtor, entered on June 18, 2020, may not be assumed or assigned under

                                                             2   Section 365.

                                                             3                IT IS HEREBY ORDERED, that the Application is GRANTED.

                                                             4                IT IS FURTHER ORDERED, that effective immediately the Sub-Advisory Agreement is

                                                             5   hereby rejected pursuant to 11 U.S.C. 365.

                                                             6                IT IS SO ORDERED.

                                                             7

                                                             8   PREPARED AND SUBMITTED:
                                                             9   AKERMAN LLP

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                                                                 /s/ Michael Napoli, Esq
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